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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

TERESA GILMAN,

               Plaintiff,

vs.                                                         No. 20-CV-213-KG-SCY

STATE OF NEW MEXICO and
KEGAN JONES, in his individual capacity,

               Defendants.

          STIPULATED ORDER DISMISSING COUNT III OF COMPLAINT

        THIS MATTER having come before the Court upon a Stipulation of Dismissal

with Prejudice of Count III (Doc. 54) and the Court having reviewed the stipulation,

        IT HEREBY IS ORDERED that Count III of the Complaint (Doc. 1-1) should be

and hereby is dismissed with prejudice, leaving no remaining claims for relief by Plaintiff

against Defendant State of New Mexico.




                                             ________________________________
                                             UNITED STATES DISTRICT JUDGE
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SUBMITTED BY:

/s/ Michael Dickman
MICHAEL DICKMAN
Counsel for Defendant State of New Mexico

/s/ Erlinda O. Johnson
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DAVID M. BERLIN
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APPROVED AS TO FORM BY:

/s/ Douglas E. Gardner
DOUGLAS E. GARDNER
Attorney for Defendant Kegan Jones
